                               ORtGINAL
Case 3:08-cr-00001-DHB-BKE Document 650 Filed 07/08/11 Page 1 of 3


                                                                                     flLED
                      IN THE UNITED STATES DISTRICT COURT U.S DlSTFT COURT
                                                             pWLU. SiA Eh.
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                             MI JUt -8              12

                                     DUBLIN DIVISION

 DONALD MCCRIMMON,

                Petitioner,

        V.                                         CV 311-035
                                                   (Formerly CR 308-001)
 UNITED STATES OF AMERICA and
 REBECCA TAMEZ, Warden,

                Respondents.


                                          ORDER

        After a careful, de nova review of the file, the Court concurs with the Magistrate

 Judge's Report and Recommendation ("R&R"), to which objections have been filed (doc.

 no. 5). In his R&R, the Magistrate Judge recommended that Petitioner's Motion for.

 Withdrawal of Guilty Plea," which sought relief pursuant to 28 U.S.C. § 2241, be dismissed

 due to Petitioner's failure to satisfy any of the three prongs of savings clause of 2255, and

 that Petitioner's § 2255 motion be dismissed as untimely. ($ç doc. no. 3.)

        Petitioner objects and lists a string of cases that he claims 'rely on a new rule' of law

 previous[ly] unavailable," and thus, meet the requirements of the savings clause. (See doe.

 no. 5. pp. 3-4.) However, with the exception of a single case, the cases that Petitioner cites

 are not Supreme Court cases, and therefore fail to satisfy the requirements of the savings

 clause. (See doe. no. 3, p. 5 (citing Darby v. Hawk-Sawyer, 405 F.3d 942, 945 (11th Cir.

 2005) (per curiam)).) The single Supreme Court case that Petitioner cites to is Padilla v.
Case 3:08-cr-00001-DHB-BKE Document 650 Filed 07/08/11 Page 2 of 3



 Kentucky, 130 S. Ct. 1473 (2010). in which the Supreme Court found that the petitioner's

 trial counsel had engaged in deficient performance by failing to advise the petitioner that

 pleading guilty made him subject to automatic deportation. 1ç[ at 1483. Here, although

 Petitioner asserts that his counsel was ineffective, he does not claim that he has been subject

 to deportation because of his guilty plea, but rather, argues that certain past convictions were

 used to improperly enhance his sentence. (Doe. no. 1, pp. 5-6; doe. no. 2.) As such, Padilla

 does not apply to Petitioner's claim and therefore fails to satisfy the saving clause. Thus,

 Petitioner's objection is OVERRULED. The remainder of Petitioner's objections are

 without merit and are also OVERRULED. Accordingly, the R&R of the Magistrate Judge

 is ADOPTED as the opinion of the Court.

         Further, a federal prisoner must obtain a certificate of appealability (COA") before

 appealing the denial of his motion to vacate. This Court 'must issue or deny a certificate of

 appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

 Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

 makes a 'substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

 For the reasons set forth in the R&R, and in consideration of the standards enunciated in

 Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has failed to make the requisite

 showing. Accordingly, a COA is DENIED in this case.' Moreover, because there are no

 non-frivolous issues to raise on appeal, an appeal would not be taken in good faith.

 Accordingly, Petitioner is not entitled to appeal in forma pauperis. See 28 U.S.C. §


          "If the court denies a certificate, a party may not appeal the denial but may seek a
 certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
 11(a) to the Rules Governing Section 2255 Proceedings.

                                                2
Case 3:08-cr-00001-DHB-BKE Document 650 Filed 07/08/11 Page 3 of 3



 1915(a)(3).

        Upon the foregoing, Petitioner's "Motion for. Withdrawal of Guilty Plea" (doe.

 no. 2) and his   § 2255 motion (doe. no. 1) are DISMISSED, and this civil action is
 CLOSED.

        SO ORDERED this _^ Fay t                   2011, at Augusta, Georgia.




                                           3
